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 6                           UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
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 9   RONALD O’NEAL CALVIN,
10          Petitioner,                              Case No. 3:08-cv-00033-LRH-(RAM)
11   vs.                                             ORDER
12   E. K. MCDANIELS, et al.,
13          Respondents.
14
15          Respondents having submitted a Motion for Enlargement of Time (First Request) (#17), and
16   good cause appearing;
17          IT IS THEREFORE ORDERED that Respondents’ Motion for Enlargement of Time (First
18   Request) (#17) is GRANTED. Respondents shall have through March 6, 2009, to file and serve an
19   answer or other response to the Amended Petition (#14).
20          DATED this 29th day of January, 2009.
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23                                                             _________________________________
                                                                LARRY R. HICKS
24                                                              UNITED STATES DISTRICT JUDGE
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